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10
                                   UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                          OAKLAND DIVISION
13
     J.R.G., et al.,                             ) CASE NO. 4:22-CV-05183-KAW
14                                               )
              Plaintiffs,                        ) JOINT STATUS REPORT
15                                               )
         v.                                      )
16                                               )
     UNITED STATES OF AMERICA,                   )
17                                               )
              Defendant.                         )
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     JOINT STATUS REPORT
     4:22-CV-05183 KAW
              Case 4:22-cv-05183-KAW Document 72 Filed 08/06/24 Page 2 of 2




 1          The parties to the above-captioned action hereby submit this Joint Status Report pursuant to the

 2 Court’s April 9, 2024 Order granting the parties’ stipulation to vacate all deadlines in the case and stay

 3 the action (Dkt. 63). Since the parties’ last update filed on June 7, 2024 (Dkt. 69), the Court issued an

 4 Order Granting Motion to Approve Settlement Involving Claims of a Minor (Dkt. 71). The settlement

 5 agreement is in process for the Attorney General’s designee’s final decision.

 6 DATED: August 6, 2024                                  Respectfully submitted,

 7                                                        LAW OFFICE OF JULIANNA RIVERA, P.C.

 8
                                                      By: /s/ Julianna Rivera Maul
 9                                                       Julianna Rivera Maul

10                                                        NORTHWEST IMMIGRANT RIGHTS PROJECT

11                                                    By: /s/ Matt Adams
                                                         Matt Adams
12                                                       Aaron Korthuis

13                                                        Counsel for Plaintiffs

14
     DATED: August 6, 2024                                Respectfully submitted,
15
                                                          ISMAIL RAMSEY
16                                                        United States Attorney

17                                                        /s/ Kenneth Brakebill
                                                          Kenneth Brakebill
18                                                        Kelsey J. Helland
                                                          Assistant United States Attorneys
19
                                                          Counsel for the United States of
20                                                        America
21

22                                               ATTESTATION
23          Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in the filing
24 of this document has been obtained from the other signatories.

25 Dated: August 6, 2024                                  By: /s/ Kenneth Brakebill
                                                              Kenneth Brakebill
26                                                            Assistant United States Attorney
                                                              Counsel for the United States of America
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     JOINT STATUS REPORT
     4:22-CV-05183 KAW
